Case 1:22-cv-01032-PKC-JRC Document 140 Filed 02/20/23 Page 1 of 1 PageID #: 1998




                                    WARNER & SCHEUERMAN
                                        Attorneys at Law
                                  6 West 18th Street, 10th Floor
                                   New York, New York 10011
                                      Tel: (212) 924-7111
                                      Fax: (212) 924-6111
  Jonathon D. Warner, Esq.
  jdwarner@wslaw.nyc

  Karl E. Scheuerman, Esq.
  kescheuerman@wslaw.nyc                                    February 20, 2023

  VIA EMAIL

  Emanuel Katev, Esq.
  Milman Labuda Law Group PLLC
  3000 Marcus Avenue, Suite 3W8
  Lake Success, New York 11042

  Leo Shalit, P.C.
  45 Glen Cove Road
  Glenvale, New York 115418

  Re:    IME Watchdog, Inc. v. Gelardi, et al.
         Case No.: 1:22-cv-1032 (PKC)(JRC)

  Dear Counselors:

         We represent defendants Safa Gelardi and IME Companions LLC and enclose the
  following with respect to our motion to dismiss the ninth cause of action in plaintiff’s first
  amended complaint: (a) Defendants’ Reply Memorandum of Law in Further Support of Motion to
  Dismiss dated February 20, 2023; and (b) Defendants’ Memorandum Of Law In Opposition to
  Motion To Amend dated February 20, 2023.

                                                            Sincerely,


                                                            /s/ Jonathon D. Warner

  JDW/ks
  Encs.
